                        IN THE UNITED STATES DISTRICT
                          COURT EASTERN DISTRICT OF
                                 WISCONSIN

The ESTATE OF SYLVILLE K. SMITH, by         )
Personal Representative Mildred Haynes,     )   No. 17-cv-862
Patrick Smith, and Mildred Haynes, on her   )
own behalf,                                 )
                                            )
          Plaintiffs,                       )    JURY TRIAL DEMANDED
                                            )
           v.                               )
                                            )
CITY OF MILWAUKEE, WISCONSIN                )
and DOMINIQUE HEAGGAN-BROWN,                )
                                            )
         Defendants.                        )




                             EXHIBIT 46
                        Search Warrant Return for Ford Fusion




David B. Owens
Danielle Hamilton
LOEVY & LOEVY
311 N. Aberdeen St, Third FL
Chicago, IL 60607
(312) 243-5900




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                                           Wisconsin Department of Justice DCI
                        ACISS Search Warrant Report - No Charges 16-4915/17
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3DUNHU-RQ                                3HUVRQ              0DOH            8QNQRZQ                     /DZ(QIRUFHPHQW


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VHFXUHG DW WKH :LVFRQVLQ 6WDWH &ULPH /DERUDWRU\ ORFDWHG DW  6 WK 6WUHHW 0LOZDXNHH :,
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